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 4
   Attorney for Defendant,
 5 TAMMY BROWN
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,         )                No. CR S 11 0327 MCE
10                                     )
               Plaintiff,              )                STIPULATION AND
11                                     )                ORDER CONTINUING
         v.                            )                SENTENCING DATE
12                                     )
   TAMMY BROWN,                        )
13                                     )
               Defendant.              )
14 ____________________________________)
15         It is hereby stipulated by and between Timothy Warriner, counsel for defendant Tammy
16 Brown, and Kyle Reardon, Assistant United States Attorney, counsel for the government, that the
17 sentencing hearing now set for October 11, 2012, be vacated, and that judgment and sentencing
18 be set for November 8, 2012, at 9:00 a.m. Said continuance is requested in order to afford
19 defense counsel additional time to prepare for the sentencing hearing. The U.S. Probation officer
20 has been advised of the new sentencing date and has no objection thereto.
21
     Dated: September 26, 2012           /s/ Timothy E. Warriner, Attorney for Ms. Brown
22
     Dated: September 26, 2012           /s/ Kyle Reardon, Assistant United States Attorney for
23                                       The Government
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            Case 2:11-cr-00327-DAD Document 146 Filed 09/28/12 Page 2 of 2


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 3                                              ORDER
 4         GOOD CAUSE APPEARING, and based on the foregoing stipulation of counsel, the
 5 October 11, 2012 sentencing date is vacated, and the matter is set for judgment and sentence to
 6 occur on November 8, 2012 at 9:00 a.m.
 7         IT IS SO ORDERED.
 8
     Dated: September 28, 2012
 9
                                                ________________________________
10                                              MORRISON C. ENGLAND, JR.
                                                UNITED STATES DISTRICT JUDGE
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